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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



DEBORAH D. PETERSON,                          Case No.: 10 Civ. 4518 (BSJ) (GWG)
Personal Representative of the Estate
Of James C. Knipple (Dec.), et al.,

                        Plaintiffs,

                  v.                          PLAINTIFFS’ NOTICE OF MOTION
                                              FOR PARTIAL SUMMARY
ISLAMIC REPUBLIC OF IRAN, et al.              JUDGMENT

                        Defendants.




           PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in

Support of Plaintiffs’ Motion for Partial Summary Judgment (“Plaintiffs’ Memorandum”), the

Declarations of Liviu Vogel, Curtis C. Mechling, David B. Misler, Suzelle M. Smith and Keith

M. Fleischman in Support of Plaintiffs’ Motion for Summary Judgment, together with the

exhibits annexed thereto, and Plaintiffs’ Local Rule 56.1 Statement, the plaintiffs/judgment

creditors in this action, who are listed on Exhibit A to Plaintiffs’ Memorandum (“Plaintiffs”),

will move this Court, before the Hon. Gabriel W. Gorenstein, United States Magistrate Judge, at

the United States Courthouse, 500 Pearl Street, Courtroom 17A, New York, New York 10007,

on a time and date to be determined by the Court, for an order pursuant to Fed. R. Civ. P. 56 and

Local Rule 56.1 granting summary judgment to Plaintiffs and directing the defendants in this

action to turn over the funds described in Plaintiffs’ Memorandum (the “Blocked Assets”) that

are currently located in a “blocked,” interest-bearing suspense account at defendant Citibank,

N.A. (the “Blocked Account”) and which are the subject of restraints (the “Restraints”) imposed



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by service of restraining notices, writs of execution, this Court’s June 27, 2008 order and

subsequent orders extending the Restraints.

         PLEASE TAKE FURTHER NOTICE that Plaintiffs hereby request oral argument on

their motion.


Dated: New York, New York                     SALON MARROW DYCKMAN NEWMAN & BROUDY LLP
       April 2, 2012
                                                  /s/ Liviu Vogel
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                                                      -and –

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